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                    Exhibit 8
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 1                            UNITED STATES DISTRICT COURT
 2                        NORTHERN DISTRICT OF CALIFORNIA
 3                                   OAKLAND DIVISION
 4
 5             In re Google RTB Consumer
               Privacy Litigation,
 6                                                          No. 21-cv-02155-YGR
 7             This Document Relates to:
               all actions,
 8             ______________________________/
 9
10                                *** CONFIDENTIAL ***
11                   VIDEOTAPED DEPOSITION OF JOHN KEVRANIAN
12                    appearing at San Francisco, California
13                             Friday, December 9, 2022
14
15
16
17
18
19
20
21
22             Reported by:
23             Natalie Y. Botelho
24             CSR No. 989
25             Job No. CS5613874

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 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                            OAKLAND DIVISION
 4
 5      In re Google RTB Consumer
        Privacy Litigation,
 6                                                No. 21-cv-02155-YGR
 7      This Document Relates to:
        all actions,
 8      ______________________________/
 9
10
11
12                  Videotaped deposition of JOHN KEVRANIAN,
13      taken on behalf of Google, at 3 Embarcadero Center,
14      20th Floor, San Francisco, California, beginning at
15      9:08 a.m. and ending at 4:21 p.m. on Friday,
16      December 9, 2022, before NATALIE Y. BOTELHO,
17      Certified Shorthand Reporter No. 9897.
18
19
20
21
22
23
24
25

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 1      San Francisco, California, Friday, December 9, 2022
 2                                 9:08 a.m.
 3
 4                               PROCEEDINGS
 5                     (Karin Swope and Kelsey Spector were not
 6                     present at the commencement of the
 7                     deposition.)
 8                     THE VIDEOGRAPHER:        Good morning.         We are
 9      going on the record at 9:08 a.m. on December 9th,
10      2022.       Please note that the microphones are
11      sensitive and may pick up whispering and private
12      conversations.        Please mute your phones at this
13      time.       Audio and video recording will continue to
14      take place unless all parties agree to go off the
15      record.
16                     This is Media Unit 1 of the video-recorded
17      deposition of John Kevranian, taken by counsel for
18      Defendant in the matter of In Re: Google RTB
19      Consumer Privacy Litigation, filed in the United
20      States District Court, Northern District of
21      California, Oakland Division, Case
22      No. 21-cv-02155-YGR.
23                     The location of the deposition is 3
24      Embarcadero Center, 20th floor, San Francisco,
25      California 94111.       My name is Shawna Hynes,

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 1      representing Veritext Legal Solutions, and I'm the
 2      videographer.     The court reporter is Natalie
 3      Botelho, from the firm Veritext Legal Solutions.                    I
 4      am not related to any party in this action, nor am I
 5      financially interested in the outcome.
 6                  If there are any objections to proceeding,
 7      please state them at the time of your appearance.
 8      Counsel and all present, including remotely, will
 9      now state their appearances and affiliations for the
10      record, beginning with the noticing attorney.
11                  MR. SOMVICHIAN:       Whitty Somvichian, with
12      Cooley, representing Google.
13                  MR. DANITZ:     Brian Danitz of Cotchett
14      Pitre & McCarthy, for the plaintiff.
15                  MS. NISHIMURA:       Nanci Nishimura, Cotchett
16      Pitre & McCarthy, for plaintiff.
17                  MR. STRAITE:      David Straite, Dicello
18      Levitt, for Plaintiff.
19                  MS. PRITZKER:      This is Elizabeth Pritzker
20      of Pritzker Levine.      I represent the plaintiffs.
21                  THE VIDEOGRAPHER:         Thank you.
22                  Will the court reporter please swear in
23      the witness, and then counsel may proceed.
24                            JOHN KEVRANIAN,
25      having been administered an oath, was examined and

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 1                         testified as follows:
 2
 3                   EXAMINATION BY MR. SOMVICHIAN
 4                  MR. SOMVICHIAN:         Q.     Good morning,
 5      Mr. Kevranian.        We just met this morning.               You
 6      understand you're here to be deposed in the class
 7      action matter in which you're one of the named
 8      plaintiffs?
 9      A.          Yes.
10      Q.          Let me -- let me just mark for the record
11      the deposition notice in this case, so we have it.
12                  And this will be the second exhibit.                    Just
13      put a couple things in front of you.
14                  (Whereupon Exhibit 1 and Exhibit 2 were
15                  marked for identification.)
16                  MR. SOMVICHIAN:         Q.     Mr. Kevranian, let's
17      start with the first document.              We won't take much
18      time with that.        Have you seen that before?
19      A.          Yes.
20      Q.          You understand it's the notice by which we
21      requested your deposition here today?
22      A.          Yes.
23      Q.          Have you been deposed before?
24      A.          Yes.
25      Q.          How many times?

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 1      Candy.
 2      Q.          Any other reason?
 3      A.          No.
 4      Q.          What do you do in the context of the
 5      Broadway Burlingame Business Improvement District?
 6      A.          Well, I represent 110 businesses, which
 7      the majority, over 90%, are family-owned businesses.
 8      And out of the 110 businesses, I would say 85% are
 9      minority business owners who I advocate for because
10      I work with City Council, I work with County
11      supervisors, and I advocate for our businesses with
12      different government agencies, and I help them out
13      on a daily basis, whatever their needs are for their
14      business.
15      Q.          Could you give me an example of what
16      you've done recently in terms of advocacy on behalf
17      of one of these businesses?
18      A.          Sure.     I'll give you a great example.
19      Recently I approached the County of San Mateo.                    A
20      lot of our businesses were receiving environmental
21      health department fees, from $600 to about $2,000,
22      and because of COVID a lot of businesses were still
23      struggling, so they said to me, "John, we have a
24      hard time paying these fees.            Can you help us,
25      please?"

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 1                  I said, "Sure."
 2                  So I sent an e-mail to the County
 3      Supervisor, and I said, "Can you please waive the
 4      fees?"
 5                  And they looked into it and studied for
 6      several months, and about four or five months later,
 7      they said, "John, please attend one of our
 8      supervisors meeting, and we're going to be
 9      discussing the fee waiver that you approached us
10      with."
11                  So the County waived $5.8 million worth of
12      fees to 5500 businesses in San Mateo County from one
13      e-mail that I sent advocating for our businesses.
14                  Those are things that I do to our
15      family-owned businesses, our members of the Broadway
16      Business Improvement District.              I'm an advocate, and
17      they trust me.        I work very closely with small
18      business owners, and I do this as a volunteer.                     I'm
19      not a paid individual.
20      Q.          Okay.      Thank you for that explanation.                As
21      part of your assistance for small businesses, do you
22      ever advise them on marketing or advertising?
23      A.          Sometimes, depending on the business.
24      Q.          Does any of that advice involve online
25      forms of marketing and advertising?

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 1      Q.          What about John B. Kevranian & Associates?
 2      A.          No.
 3      Q.          Did you ever promote Nuts For Candy
 4      through any kind of online advertising program
 5      through Google?
 6      A.          No.
 7      Q.          What about John B. Kevranian & Associates?
 8      Any online marketing through Google --
 9      A.          No.
10      Q.          -- that you can recall?
11                  Does Nuts For Candy have a website?
12      A.          Yes.
13      Q.          What's the URL for that?
14      A.          NutsForCandy.com.
15      Q.          Okay.     I'll take a look at that at the
16      break, but do you -- do you place advertisements on
17      that website?
18                  MR. DANITZ:      Objection; vague and
19      ambiguous as to "place advertisements."
20                  THE WITNESS:       No.
21                  MR. SOMVICHIAN:        Q.     Is there now or has
22      there ever been a website for John B. Kevranian &
23      Associates?
24      A.          No.
25      Q.          Mr. Kevranian, switching gears here, and

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 1      now focused on this litigation, tell me how you
 2      first got involved in this case as a plaintiff.
 3      A.          Well, I started hearing about Google
 4      selling private personal information on media and
 5      through congressional hearings, and I was concerned
 6      about it, and I approached my attorneys and
 7      discussed the case, and --
 8                  MR. DANITZ:      At this point I'm going to
 9      caution the witness not to reveal privileged
10      attorney-client communications.
11                  THE WITNESS:       Yes.
12                  MR. DANITZ:      But you can continue.
13                  THE WITNESS:       And that's how it started.
14                  MR. SOMVICHIAN:        Q.     Okay.     Let me -- let
15      me get a little bit more background on that.
16      A.          Sure.
17      Q.          Okay?     So you referred to some
18      congressional testimony or some other news accounts
19      that led to you reaching out.             Can you be more
20      specific about what you saw or heard?
21      A.          Well, I heard in the media that Google was
22      selling personal information of Google account
23      holders, and I was concerned about my privacy and
24      what was being sold.
25      Q.          Where did you hear this?

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 1      ambiguous, asked and --
 2                  THE WITNESS:       I don't remember.
 3                  MR. DANITZ:      Asked and answered.            Right.
 4                  MR. SOMVICHIAN:        Q.     Okay.     And what was
 5      the concern or other reaction that you had stemming
 6      from these --
 7      A.          My concern --
 8      Q.          -- news accounts that you were exposed to?
 9      A.          My concern was, is my personal information
10      being sold to a third party, is Google selling my
11      personal information, because Google's statements
12      are, "We do not sell your personal information or
13      share your personal information with a third party."
14      Q.          After you saw these news accounts and saw
15      the testimony and before you approached attorneys,
16      did you do anything to research the subject or
17      otherwise educate yourself about the things that you
18      were concerned about?
19      A.          I don't remember.
20      Q.          What was the -- strike that.
21                  How much time passed between when you saw
22      these news accounts and the congressional testimony
23      and the time when you approached your attorneys?
24      Can you approximate -- give me an approximate amount
25      of time?

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 1      A.          I don't remember.
 2      Q.          Was it months?
 3      A.          I can't remember.
 4      Q.          Was it in the same year?
 5      A.          I would say so.
 6      Q.          But other than that, you can't be more
 7      specific as to --
 8      A.          No.
 9      Q.          -- the amount of time?
10      A.          I can't remember.
11      Q.          Okay.     Who did you reach out to?
12      A.          I reached out to my attorney, Brian
13      Danitz, and my attorney, Nanci Nishimura.
14      Q.          How did you know Mr. Danitz?
15      A.          They're my attorneys.
16      Q.          From what prior engagements?
17      A.          Through other business transactions.
18      Q.          Okay.     When is the first time that
19      Mr. Danitz did work for you?
20      A.          He did work for me for our company.
21      Q.          Nuts For Candy?
22      A.          Yes.
23      Q.          What was the nature of the work generally?
24      A.          It was a class action for Visa
25      interchange.

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 1                  (Whereupon Exhibit 4 was marked for
 2                  identification.)
 3                  MR. SOMVICHIAN:        Q.     Okay.     Mr. Kevranian,
 4      you have in front of you now the consolidated class
 5      action complaint.      Is this a document you're
 6      familiar with?
 7      A.          Yes.
 8      Q.          Before we look at the actual contents of
 9      this document, can -- can you tell me what
10      involvement you had, if any, in the preparation or
11      approval of the complaint?
12                  MR. DANITZ:      And before you respond, I'm
13      going to ask the witness to not reveal
14      communications between your attorneys and you
15      regarding the complaint, but you can respond to the
16      question.
17                  THE WITNESS:       Thank you.
18                  A week prior to the filing of August 27th,
19      I reviewed the draft, I met with my attorneys and
20      reviewed the draft, and we went over certain things
21      and went through the pages and the draft -- then
22      afterwards, it was filed on August 27th.
23                  MR. SOMVICHIAN:        Q.     That was about a week
24      before?
25      A.          It was about a week before that I met with

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 1      the attorneys to review the draft.
 2      Q.          Who did you meet with?
 3      A.          With Mr. Brian Danitz.
 4      Q.          Anybody else?
 5      A.          No.
 6      Q.          Without telling me the contents of any
 7      discussions that you had, did you provide feedback
 8      or ask questions about the draft?
 9      A.          Yes.
10      Q.          You mentioned a document that you recall
11      being filed on August 27th, right?
12      A.          Yes.
13      Q.          If you look here at the document in front
14      of you, there's a line at the very top.                 It says
15      "Filed 9/16/21"?
16      A.          Yes.
17      Q.          Are you aware of whether this is a
18      different document than what you had in mind in your
19      prior response?
20      A.          I believe they had made some minor changes
21      after.
22      Q.          So feel free to flip through this
23      particular document, and I want to understand
24      whether you also reviewed this document as well as
25      the one that you just described a second ago.

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 1      the record.     In putting this exhibit in front of the
 2      witness, against our notice.
 3                  MR. SOMVICHIAN:          Q.     Mr. Kevranian, your
 4      counsel doesn't want you looking at that version.
 5      We'll mark another version for you.                   Okay?
 6      A.          Okay.
 7      Q.          But you can keep it and just look at the
 8      caption page.      Okay?     We're going to ask some
 9      questions about that.
10      A.          Okay.
11      Q.          You see the caption says "Benjamin Hewitt,
12      et al., on behalf of themselves and all others
13      similarly situated, Plaintiffs."                 You see that, sir?
14      A.          Yes.
15      Q.          Did you understand that you were one of
16      these plaintiffs?
17      A.          Yes.
18      Q.          What does it mean to you, in general
19      terms, to be a plaintiff?
20      A.          To be a plaintiff, class plaintiff, is to
21      do due diligence, to represent the class honestly
22      and ethically, and to have all the information
23      available to discuss the case with my attorneys and
24      ask questions, to study the complaint and all
25      documents by the courts, and also to be where I need

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 1      to be, like today at the deposition as a class
 2      representative, and to -- I gave all my computer, my
 3      phone information to my attorneys and the experts,
 4      and to do what's best for the class, to advocate for
 5      the class.
 6      Q.          Mr. Kevranian, in your answer just now,
 7      you said your understanding of being a plaintiff
 8      involves studying the complaint and all documents by
 9      the courts, something along those lines?
10      A.          Mm-hmm.
11      Q.          What other documents in this case have you
12      reviewed other than the complaint?
13      A.          Motion to dismiss by Judge Gonzalez
14      Rogers, the documents from Judge DeMarchi, the
15      discovery, all the documents that I've received from
16      my attorneys.
17      Q.          When you refer to discovery, what are you
18      referring to?
19      A.          The information from my computer, the --
20      my phone.
21      Q.          So I'm not talking about those materials,
22      sir.    In terms of documents either exchanged with
23      Google or from the court, can you be more specific
24      about what you recall reviewing?
25      A.          The exhibits that I've seen, the 28

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 1      exhibits.    I believe it was about 500 pages.
 2      Also --
 3      Q.          Exhibits to what?
 4      A.          The exhibits that had to do with the
 5      privacy policies and the terms of Google.                   And
 6      also --
 7      Q.          Are you referring to exhibits to the
 8      complaint?
 9      A.          To the complaint.
10      Q.          I see.    Okay.     Anything else that you can
11      recall reviewing?      You mentioned the motion to
12      dismiss?
13      A.          Yes.
14      Q.          Do you remember the briefs filing by the
15      other side or the order from the Court?                 What are
16      you referring to?
17      A.          The Judge DeMarchi's documents, where
18      certain documents that the plaintiffs are asking for
19      and certain documents that Google will not -- Google
20      has made it private where I cannot see them.                   I have
21      not seen any of those.         It's for the attorneys only.
22      I have not seen any of the documents.                There are a
23      lot of documents out there that are not privy to me.
24      Q.          Do you recall seeing orders from the Court
25      either from -- from any of the judges involved in

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 1      this case?
 2      A.          Can you repeat the question?
 3      Q.          Yeah.     Do you recall -- so do you know who
 4      the judges are that are involved in this case?
 5      A.          Judge Gonzales Rogers and also Judge
 6      DeMarchi.
 7      Q.          Do you recall seeing any orders that
 8      either one of those judges issued in this case?
 9      A.          The motion to dismiss order.
10      Q.          Anything else?
11      A.          And also, I'm not sure what the documents
12      are called, but Judge DeMarchi's -- the order -- the
13      orders that she gives to both sides.
14      Q.          How often -- again, without revealing
15      contents of discussions you had with your lawyers,
16      how often have you had contact with them about this
17      case?
18      A.          Approximately every couple of weeks.
19      Q.          What form of communication usually?
20      A.          Usually I go to their office.
21      Q.          So -- and just looking at the caption --
22      we'll swap out a different version --
23      A.          Sure.
24      Q.          -- when we look at the contents.                In the
25      text that I just pointed out to you that describes

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 1      your understanding of the group of people who you
 2      are trying to represent in this case, sir?
 3                  MR. DANITZ:      Objection; asked and
 4      answered.
 5                  THE WITNESS:       I and the Google account
 6      holders are average people, and the average person,
 7      the average Google account holder who is like me.
 8                  MR. SOMVICHIAN:        Q.     What do you mean by
 9      "average"?
10      A.          I'm not an expert to define what "average"
11      means.
12      Q.          Well, I'm not asking for an expert --
13      A.          Okay.
14      Q.          -- understanding, but just what -- how you
15      meant it when you said it just now.
16      A.          Individuals like me who have Google
17      account holders (sic).
18                  MR. DANITZ:      Asked and answered.
19                  MR. SOMVICHIAN:        Q.     What is your
20      understanding of what it means to be bringing this
21      case on behalf of other people?
22      A.          That I will do my due diligence to
23      advocate for them and to attend deposition, to be at
24      the trial, to read documents to understand them, and
25      also ask questions to my attorneys and have them

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 1                  THE WITNESS:       I don't know.
 2                  MR. SOMVICHIAN:        Q.     You don't recall
 3      taking any action to sign out of your Google
 4      account, correct?
 5      A.          I don't remember.
 6      Q.          Now, since -- since filing this lawsuit,
 7      have you done anything to research whether you can
 8      sign out of your Google account and still use Google
 9      services?
10      A.          No.
11      Q.          What Google services do you use?                Do you
12      use Google Search?
13      A.          Yes.
14      Q.          Generally speaking, what do you use it
15      for?
16      A.          Searching for news, subjects, and many
17      other things.
18      Q.          Do you know one way or the other whether
19      you have to be signed in to your Google account in
20      order to use Google Search?
21      A.          I don't know.
22      Q.          How often do you use Google Search?
23      A.          Every day.
24      Q.          Do you use any other search engines?
25      A.          No.

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 1      you visit most commonly?          Let's take like the
 2      first -- like the most common five maybe that you
 3      can think of.
 4                  MR. DANITZ:      Counsel, at this point -- and
 5      perhaps I should have mentioned this earlier, but
 6      we're going to designate this transcript
 7      "Confidential," as it's bringing up confidential and
 8      personal information.
 9                  MR. SOMVICHIAN:        That's fine.
10                  MR. DANITZ:      Sorry to interrupt.
11                  THE WITNESS:       Can you repeat the question,
12      please?
13                  MR. SOMVICHIAN:        Q.     Yeah.     What -- what
14      would you estimate to be the websites you visit most
15      frequently?     And let's just take the top three to
16      five that come to mind.
17      A.          Facebook.
18      Q.          Okay.
19      A.          YouTube, Google.         I can't think of any
20      other right now.
21      Q.          Where do you normally get your news, for
22      example?
23      A.          Oh, Google News.
24      Q.          Any other news websites that you -- that
25      you look at?

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 1      A.          Facebook News.
 2      Q.          What about online shopping sites?
 3      Anything there?
 4      A.          Shop -- no.
 5      Q.          Can you think of any other websites that
 6      you visit with some regularity?
 7      A.          Regularly, I can't think of any right now.
 8      Q.          Do you ever recall looking at -- or strike
 9      that.
10                  Are you aware of websites having privacy
11      policies?
12      A.          Some.
13      Q.          Which ones are you aware of having their
14      own privacy policy?
15      A.          I can't think of any right now.
16      Q.          Have you ever -- have you ever bothered to
17      click through and look at the privacy policy of any
18      website that you might be visiting?
19      A.          I don't remember.
20      Q.          That's not a -- that's not like a regular
21      practice of yours, right, to look at the terms or
22      privacy policy of some website that you might be
23      looking at?
24      A.          No.
25      Q.          And as you sit here today, you don't

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 1                  We're good with using this one?
 2                  MR. DANITZ:        This appears to be the
 3      publicly filed document.
 4                  MR. SOMVICHIAN:        Q.     Okay.     Mr. Kevranian,
 5      you previously testified, I think, to a recollection
 6      of a version of the complaint filed on August 27th.
 7      And you'll see in the top here, on the very front,
 8      it says, "Filed 8/27/21."          Do you see that, sir?
 9      A.          Yes.
10      Q.          Okay.     So I'll just say, I'm impressed by
11      your recollection of dates, at least in connection
12      with this pleading.       And if you look at the
13      document, do you recall this being -- or I'll ask
14      it, does this appear to be the document that you
15      reviewed as you describe in your testimony earlier
16      prior to the filing?
17      A.          It appears to be.
18      Q.          Okay.     Okay.     Can you turn to Page 10,
19      please, sir.
20                  MR. DANITZ:        Counsel, are you referring to
21      the ECF numbers or the page numbers at the bottom?
22                  MR. SOMVICHIAN:        The page numbers at the
23      bottom.
24      Q.          So look at the bottom and not the top.
25      A.          Oh, okay.

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 1      Q.          You agree that someone that did authorize
 2      that use of their personal information is not
 3      included within this group?
 4      A.          I don't know.
 5      Q.          Why not?
 6      A.          These are legal terminologies, so...
 7      Q.          I'm not asking for a legal opinion of any
 8      kind, Mr. Kevranian, but is it your understanding
 9      that if somebody has authorized the conduct that
10      you're complaining about in this case, that they're
11      not within the scope of the people that you're
12      bringing this case on behalf of?
13                  MR. DANITZ:      Objection; that calls for a
14      legal conclusion.
15                  MR. SOMVICHIAN:        Q.     You can answer.
16      A.          Well, can you repeat the question, please?
17      Q.          Yeah.     If somebody has authorized the
18      conduct that you are complaining about in this case,
19      is that somebody that you're bringing this case on
20      behalf of?
21      A.          Well --
22                  MR. DANITZ:      Same objection.
23                  THE WITNESS:       We did not authorize Google
24      to sell our personal information to a third party.
25                  MR. SOMVICHIAN:        Q.     I understand.        Your

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 1      view is you did not, correct?
 2      A.          I did not authorize Google to sell my
 3      personal information to anyone.
 4      Q.          Correct.     And that's why this says that
 5      the case is being brought on behalf of individuals,
 6      quote, "whose personal information was sold or
 7      otherwise disclosed by Google without their
 8      authorization."       So those people would be similarly
 9      situated to you, correct?
10      A.          Yes.
11      Q.          So my question is, if somebody had
12      authorized the conduct that you're challenging in
13      this case, are those people part of who you are
14      trying to represent?
15                  MR. DANITZ:      Objection; calls for
16      speculation.     Objection; incomplete hypothetical,
17      and calls for a legal conclusion.
18                  MR. SOMVICHIAN:        Q.     You can answer, sir.
19      A.          Google states that they do not sell
20      anyone's personal information to a third party on
21      their websites, I guess, and everywhere else, in the
22      media, at Congress hearings, and this statement here
23      is for all Google account holders.
24      Q.          Okay.     I just -- but it says "without
25      their authorization."        So my question is, are you

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 1                  MR. DANITZ:      Objection; asked and answered
 2      multiple times, calls for speculation, calls for a
 3      legal conclusion.
 4                  MR. SOMVICHIAN:        Q.     Go ahead.
 5      A.          I did not authorize Google to sell my
 6      information and all the Google account holders that
 7      I'm representing.
 8      Q.          Can you look at Paragraph 45 on Page 13.
 9      You see Paragraph 45 refers to you?
10      A.          Yes.
11      Q.          The second sentence reads, "Plaintiff
12      Kevranian is a Google account holder who has used
13      the Internet, including websites from which Google
14      sold and shared account holder information without
15      authorization, as alleged herein."                  Do you see that,
16      sir?
17      A.          Yes.
18      Q.          Is that a correct statement?
19      A.          Yes.
20      Q.          Do you have in mind any specific websites
21      that fall within this description of, quote,
22      "websites from which Google sold and shared account
23      holder information without authorization"?
24      A.          I don't know.
25      Q.          You can't -- you can't identify a specific

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 1      website that falls within that statement, correct?
 2                  MR. DANITZ:      Objection; calls for expert
 3      testimony.
 4                  THE WITNESS:       I'm not a technical expert.
 5      I don't know.
 6                  MR. SOMVICHIAN:        Q.     How do you know if
 7      that allegation is accurate, then?
 8      A.          Can you ask the question, please?
 9      Q.          Yeah.     How do you know if that allegation
10      is accurate?
11      A.          Through experts.
12      Q.          Have you discussed this with experts?
13      A.          My attorneys --
14                  MR. DANITZ:      At this point I am going to
15      instruct the witness not to reveal privileged
16      attorney-client communications.
17                  MR. SOMVICHIAN:        Q.     Okay.     Not -- I'm not
18      asking for contents.       Have you spoken to any of the
19      experts in this case?
20      A.          My attorneys have.
21      Q.          But you have not?
22      A.          No.
23      Q.          You don't have an independent basis to
24      know that this is accurate, other than relying on
25      your attorneys; is that fair?

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 1      A.          This is the reason why I've hired the best
 2      of the best in the attorneys in this field for this
 3      case.
 4      Q.          Right.     And you --
 5      A.          They are the experts, and they represent
 6      me.
 7      Q.          Okay.     And I'm just confirming, sir, you
 8      don't yourself have an independent basis to know
 9      that this is accurate, other than relying on the
10      fine attorneys that you've retained to represent
11      you, right?
12      A.          And also, the news media information.
13      Q.          The last sentence in this paragraph --
14      we're looking at 45 again -- "In order to become a
15      Google account holder, Plaintiff Kevranian was
16      required to indicate he agreed to uniform conditions
17      drafted and set forth exclusively by Google that
18      govern the relationship between him and Google."
19      See that, sir?
20      A.          So what is your question again?
21      Q.          Yeah.     Is that accurate?
22                  MR. DANITZ:      That was not your question,
23      Counsel.
24                  MR. SOMVICHIAN:        I referred him to that,
25      and now I'm asking him is that an accurate

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 1                  THE WITNESS:       It's a highly technical
 2      issue.
 3                  MR. SOMVICHIAN:        Q.     Can you identify any
 4      specific type of information that is encompassed by
 5      this allegation that your personal information has
 6      been shared through Google RTB?
 7                  MR. DANITZ:      Same objection; calls for a
 8      legal conclusion.      Also calls for expert testimony.
 9                  THE WITNESS:       Can you repeat the question,
10      please?
11                  MR. SOMVICHIAN:        Q.     Yeah.     This statement
12      says, "Google has sold and shared Kevranian's
13      personal information through Google RTB."                   My
14      question to you is, can you identify any specific
15      type of information that's covered by this
16      statement?
17                  MR. DANITZ:      Same objection.          Calls for a
18      legal conclusion and for expert testimony.
19                  THE WITNESS:       Google has promised not to
20      sell our personal information, and they've sold the
21      information to third -- third parties, selling our
22      browser history, search history, computer ID,
23      cookies, and many other technical fields that are in
24      our computer system through their real-time bidding
25      process.

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 1      A.             Yes.
 2      Q.             Okay.    Do you have an iPhone?
 3      A.             An iPhone.
 4      Q.             What's the model?
 5      A.             8.
 6      Q.             That's still the one you're using
 7      currently?
 8      A.             Yes.
 9      Q.             How long have you had that?              It's a
10      collector's item now.
11      A.             It is.    So long time.
12      Q.             You have a MacBook?
13      A.             Yes.
14      Q.             You use that to browse the Internet?
15      A.             Yes.
16      Q.             How long have you had that MacBook?
17      A.             Over a year.
18      Q.             What -- what computer did you use before
19      that?       Did that replace something?
20      A.             It was another Mac -- Apple computer.
21      Q.             Okay.    And you don't have that anymore?
22      A.             No.
23      Q.             What did you do with it?
24      A.             Actually, I do have it, but it's -- it
25      doesn't operate.         It doesn't turn on.

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 1      Mr. Kevranian, is it your allegation that the
 2      highlighted text with the statements reflected in
 3      there -- strike that.
 4                  Is it your allegation that the statements
 5      highlighted in this document on the first page are
 6      false?
 7                  MR. DANITZ:      I'm sorry, Counsel.            Okay.
 8      "False."    I didn't hear that last word.
 9                  THE WITNESS:       Can you repeat the question,
10      please?
11                  MR. SOMVICHIAN:        Q.     Yeah.     You see the
12      highlighted text?      Let's be more specific.              You see
13      the text that says, "We don't sell your personal
14      information to anyone"?         You see that?         It's
15      highlighted.
16      A.          Yes.
17      Q.          Is it your allegation in this case that
18      that statement is false?
19      A.          Yes.
20      Q.          What's the basis for saying that it's
21      false?
22      A.          Google has promised and has stated to all
23      Google account holders that they don't sell their
24      personal information to anyone.
25      Q.          Yeah.     What's your basis for alleging in

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 1      this case that that is not true?
 2      A.          From the news --
 3                  MR. DANITZ:      Objection.         You can answer if
 4      you have an independent basis, but objection, it
 5      calls for attorney -- to the extent it calls for our
 6      communications regarding privileged issues in this
 7      case, please don't reveal those.               Also calls for
 8      expert testimony.      You can answer.
 9                  THE WITNESS:       It's the information I've
10      received through the media, the congressional
11      hearings, news reports, that Google sells private
12      information -- private personal information to third
13      parties.
14                  MR. SOMVICHIAN:        Q.     Okay.     And that's the
15      same information and sources that you referred to me
16      earlier today, right?
17      A.          Yes.
18      Q.          You don't have in mind some other source
19      that you've now remembered that's part of why you
20      think this is untrue, is it?
21                  MR. DANITZ:      Mischaracterizes the
22      testimony, calls for expert testimony.                And I
23      instruct the witness not to reveal privileged
24      communications.       You can respond.
25                  THE WITNESS:       No.

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 1      time in which you might have seen any of the
 2      materials.     I'm focused on the time when you did the
 3      review.     So that was a couple -- maybe a year or two
 4      ago, right?     Or maybe a year and a half ago?
 5      A.           Yes.
 6      Q.           So that's the time frame I'm asking about.
 7      So when you did that review of the draft complaint
 8      and the exhibits, did you see any exhibit that made
 9      you think, oh, this looks familiar because I've seen
10      it before?
11                   MR. DANITZ:     Objection; lacks foundation
12      and calls for speculation.
13                   THE WITNESS:      No.
14                   MR. SOMVICHIAN:       Q.     Earlier today,
15      Mr. Kevranian, you've explained to me your concern
16      you believe Google is selling your personal
17      information.     What is your understanding of who
18      Google is allegedly selling information to?
19                   MR. DANITZ:     Objection; calls for expert
20      testimony.
21                   THE WITNESS:      Google is selling to -- our
22      personal information to third parties, and it's --
23      there's hundreds of different companies they're
24      work -- dealing with.
25                   MR. SOMVICHIAN:       Q.     So I'm not asking you

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 1      to different third-party individuals, and I don't
 2      know what they're doing with that information.
 3      Q.          I didn't ask what they were doing with it.
 4      I'm asking for your own interpretation of the
 5      personal information at issue.             And I think earlier
 6      today you explained to me that part of the personal
 7      information that you're concerned about being shared
 8      includes the things that you search for online,
 9      right?
10      A.          Online, my browser history's being sold,
11      my IP address is being sold.            There are dozens of
12      technical terms that I don't know.                  The information
13      is being sold to third parties from our account.
14      Q.          Do you have any understanding of whether
15      your search history is shared through the RTB
16      process?
17                  MR. DANITZ:      Objection; calls for expert
18      testimony.
19                  THE WITNESS:       That's an expert's question.
20      Ask an expert, please.         I don't know.
21                  MR. SOMVICHIAN:        Q.     This case is about
22      RTB, though, right?       You understand that?
23      A.          Yes.
24      Q.          But you don't know whether search history
25      is part of RTB or not?

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 1      A.          It's in the complaint.
 2      Q.          And what does it say in the complaint?
 3      A.          That there are many factors they're using
 4      to sell.
 5      Q.          Do you know whether your browsing history
 6      is part of RTB?
 7                  MR. DANITZ:      Objection; vague and
 8      ambiguous.    Part of RTB?
 9                  MR. SOMVICHIAN:        Q.     Mr. Kevranian, do you
10      know whether your browsing history is shared with
11      third parties as part of RTB?
12      A.          I believe so.
13      Q.          If it was not, would that make you feel
14      differently about this case and the allegations that
15      you've brought?
16                  MR. DANITZ:      Objection; improper
17      hypothetical, argumentative, calls for speculation.
18                  THE WITNESS:       That's just one item out of
19      many.
20                  MR. SOMVICHIAN:        Q.     Okay.     And I just
21      want to confirm, Mr. Kevranian, before getting
22      involved in this case, you weren't aware of, from
23      any source or from any person, that ads could be
24      shown to you online potentially based on things that
25      you search for?       That was not anything that you knew

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 1      Q.          Are you familiar with that?
 2      A.          No.
 3      Q.          Okay.      You've been using the term
 4      "personal information" throughout the day today.
 5      How would you define it?
 6                  MR. DANITZ:       Objection; calls for legal
 7      conclusion.
 8                  THE WITNESS:        It's a legal term, and
 9      governments have explained the term, and my personal
10      information is only for me.             It's private, and I
11      don't want anyone to share it or sell it without my
12      authorization.        And also, my personal information is
13      about my religion, my political background, my
14      gender, where I live.         All my private, personal
15      information only belongs to me and no one else,
16      unless I give authorization, and not to have anyone
17      sell it.
18                  MR. SOMVICHIAN:         Q.     Okay.     So those
19      things that you listed, including your religion,
20      your --
21      A.          Many other things.
22      Q.          I understand you're not trying to give me
23      the exhaustive list, but the examples that you gave
24      me, including religion, political background, where
25      you live, you view those as being personal

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 1      that that information is not shared, does that
 2      impact the claims you're making in this case?
 3                  MR. DANITZ:      Objection; calls for
 4      speculation, calls for expert testimony.
 5                  THE WITNESS:       That's a legal and technical
 6      question.    I'm not an expert.
 7                  MR. SOMVICHIAN:        Q.     Did you assume, as
 8      part of the process of finalizing the complaint,
 9      that there were not options to clear out cookies or
10      to control cookies?
11                  MR. DANITZ:      Objection; vague and
12      ambiguous as to did you assume there were not
13      options.
14                  THE WITNESS:       Can you rephrase the
15      question?    Or ask the question again, please.
16                  MR. SOMVICHIAN:        Q.     Yeah, as part of --
17      when you filed the complaint, did you assume that it
18      was impossible to clear out your cookies and to
19      prevent the type of sharing of information that
20      you're complaining about?
21      A.          Well, I'm not a technical expert, so I
22      don't know what's involved with a lot of technical
23      things on a computer device, so...
24      Q.          I'm not saying whether you knew or not,
25      but is that -- did you have a belief one way or the

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 1      other -- whether it was accurate or technically
 2      correct, did you believe, when you were making
 3      allegations about cookies being shared, that it was
 4      not possible for somebody to block them from being
 5      shared, and that there were no options to delete
 6      them?
 7      A.          The allegation is not only about cookies.
 8      It's about many other topics and issues.                    So cookies
 9      alone is not the allegation here.
10      Q.          But it is part of your allegations?
11      A.          It's part of it.
12      Q.          Okay.
13      A.          But if you combine all the other topics,
14      you put the puzzles together.
15      Q.          Okay.     Well, I'm asking about one part of
16      the puzzle.
17      A.          Okay.
18      Q.          And I just want to understand.                  Maybe you
19      didn't have a view one way or the other, but my
20      question is, when you filed the complaint that does
21      include allegations about cookies, did you assume
22      that users had no options for clearing out their
23      cookies or preventing them from being shared?
24      A.          I don't know.       I would say no.
25      Q.          No, you didn't have an understanding one

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 1                  identification.)
 2                  THE VIDEOGRAPHER:          This marks the
 3      beginning of Media No. 5 in the deposition of John
 4      Kevranian.    We're back on the record.              The time is
 5      3:07.
 6                  MR. SOMVICHIAN:        Q.     Mr. Kevranian, in
 7      front of you is Exhibit 20.            And before I ask you a
 8      question about it, just to give you some context,
 9      before we were looking at another document that
10      referred to something called Google Takeout.                   And I
11      asked you a question about it.             It didn't seem to
12      ring a bell, but this is a document that was
13      produced by your counsel that appears to be a Google
14      Takeout that was sent to your e-mail address.                   Can
15      you just take a look at it and see whether that jogs
16      any recollection for you?
17      A.          Yes.
18      Q.          Okay.     Does this help you recall that you
19      have used this Google Takeout service before?
20      A.          Yes.
21      Q.          What do you remember about doing that?
22      A.          It's been a year or so, so it was
23      information that I provided, I believe, to my
24      counsel.
25      Q.          Okay.     What -- so you downloaded these

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 1      files as part of this litigation?
 2      A.          Yes.
 3      Q.          Without telling me about the contents of
 4      any privileged communications you had with your
 5      lawyers, what was the purpose of downloading these?
 6      Or do you know?
 7      A.          I don't remember exactly.               It was for the
 8      case.
 9      Q.          What do you recall generally about this
10      information that you downloaded from Google Takeout?
11      A.          It may have been for discovery.
12      Q.          Did you ever review any of the files that
13      were downloaded?
14      A.          I may have seen it, but I don't remember
15      the contents exactly.
16      Q.          Okay.     That was going to be my next
17      question.    You don't remember the contents of any
18      specific file that is depicted here, do you?
19      A.          That's right.
20      Q.          Do you remember, even in general terms,
21      what the type of information was that was downloaded
22      that you may have looked at?
23      A.          It's been almost 14 months.               I don't
24      remember offhand.
25      Q.          Okay.     Going to show you another exhibit.

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 1      what they said because you didn't review them.                   Is
 2      that accurate?
 3      A.          I don't know --
 4                  MR. DANITZ:      Objection; calls for
 5      speculation, improper hypothetical, lacks
 6      foundation.
 7                  THE WITNESS:       I don't know if they had
 8      terms or conditions.
 9                  MR. SOMVICHIAN:        Q.     You didn't have an
10      expectation when you created Facebook that Facebook
11      might have a policy that governs your use of the
12      service?
13      A.          Well, I opened the account many, many
14      years ago, and I don't remember if they had terms
15      and conditions and what it was.
16      Q.          Mr. Kevranian, do you believe you were
17      injured in some way by the allegations that you're
18      making in the complaint?
19      A.          Yes.
20      Q.          How so?
21      A.          Well, Google has sold our personal
22      information, and they state that they don't sell our
23      personal information, and also to the other Google
24      account holders.
25      Q.          Okay.     But how were you injured by that?

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 1      A.            My privacy has been sold.              My personal
 2      information has been sold.
 3      Q.            What specific aspects of your privacy do
 4      you believe have been sold as part of this case?
 5      A.            Many different aspects, as it's been noted
 6      in the complaint.
 7      Q.            Okay.    And we've talked about some today,
 8      right?      You believe your search history, that's
 9      something that you think was private to you that was
10      sold that caused you injury?             Is that part of what
11      you're claiming to be an injury?
12                    MR. DANITZ:     Objection; mischaracterizes
13      the testimony.
14                    THE WITNESS:      It's many different aspects.
15      Not only search history or cookies.                  It's many, many
16      different aspects of my personal information that
17      has been sold without my permission.
18                    MR. SOMVICHIAN:       Q.     Okay.      And we've
19      talked about this.        I'm trying to ask you now from
20      the perspective of how you believe you were injured
21      by that.      Okay.    So I understand your allegation
22      that you believe certain aspects of your information
23      were sold.      You've explained to me that you perceive
24      that to be an injury because you believe some of it
25      to be private.        Is that a fair characterization?

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 1      millions of Google account holders.
 2                    MR. SOMVICHIAN:        Q.     Let me ask it this
 3      way:    What -- what compensation do you feel you're
 4      entitled to as part of this case?
 5      A.            Well --
 6                    MR. DANITZ:      Objection as to the word
 7      "you."      Do you mean all of the class members,
 8      Counsel?
 9                    THE WITNESS:       I and the class members,
10      millions of Google account holders, want
11      compensation, and we want the Court also to put an
12      injunction to stop Google's practices of selling
13      people's personal information, and the prayer of
14      relief is all spelled out on Page 129 and 130, and
15      it details what we want.
16                    MR. SOMVICHIAN:        Q.     Okay.     So to your
17      counsel's point, my question is about you, John
18      Kevranian.      What do you feel you are entitled to by
19      way of compensation in this case?
20      A.            This is not only about me.              It's about
21      every single Google account holder.
22      Q.            I'm not asking about every Google account
23      holder.      I know you're trying to represent other
24      people, and that's understood.               But for you, sir,
25      what do you think you are entitled to as

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 1      compensation in this case?            You're a plaintiff.
 2      You're making a demand.          You're saying Google should
 3      compensate you.        I'm asking what you're asking for.
 4      A.          I am a class representative, and I'm
 5      representing Google account holders, and I can't
 6      speak to myself only.         I'm speaking on behalf of
 7      millions of Google account holders.
 8      Q.          Okay.      And how is the compensation, in
 9      your view, going to be calculated for either you or
10      anybody else in that group?
11                  MR. DANITZ:       Objection; calls for expert
12      testimony.
13                  THE WITNESS:        Through experts.             That's how
14      it would be determined.          And the courts.
15                  MR. SOMVICHIAN:         Q.     I'm not asking for a
16      specific dollar amount, just to be clear,
17      Mr. Kevranian.        I'm trying to get any understanding
18      that you have as to how that amount of compensation
19      should be calculated.
20                  MR. DANITZ:       Objection; calls for an
21      expert testimony.
22                  THE WITNESS:        I am not an expert.             That's
23      why I have hired the best lawyers that are working
24      with the best experts, technical experts, financial
25      experts, all of them.

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 1      testimony.
 2                  THE WITNESS:       That's up to the Court to
 3      decide.
 4                  MR. SOMVICHIAN:        Q.     Well, in your view,
 5      wouldn't it depend on the personal information that
 6      was shared and whether it was private and all these
 7      other things that you've explained were injuries to
 8      you?
 9                  MR. DANITZ:      Objection; calls for expert
10      testimony.
11                  THE WITNESS:       That's for the experts, and
12      also for the courts.
13                  MR. SOMVICHIAN:        Q.     Are you saying,
14      Mr. Kevranian, that everybody should get compensated
15      in the same amount in this case?               Is that what
16      you're seeking on behalf of the class that you want
17      to represent?
18                  MR. DANITZ:      Objection; mischaracterizes
19      the testimony, calls for speculation, and it calls
20      for expert testimony.        It also calls for a legal
21      conclusion.
22                  THE WITNESS:       What I'm saying is, our
23      personal information is being sold without our
24      permission, and Google's statements are "We do not
25      sell your personal information to anyone."                  And we

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 1      will -- we have experts and we have the courts to
 2      decide on that.
 3                  MR. SOMVICHIAN:        Q.     And in your view, the
 4      personal information that you think was shared about
 5      you has some value that some expert can place on it;
 6      is that your testimony?
 7      A.          That is up to the Court to decide.
 8      Q.          I thought that's what you just said, that
 9      your personal information has some value that you're
10      asking to be compensated for.             Isn't that what you
11      just said?
12      A.          That's what I said, and that -- and we
13      will let the courts decide that.
14      Q.          In going to the Court to ask them -- to
15      ask the Court for compensation for some value for
16      your personal information, what are the aspects of
17      that information that you think the Court should
18      consider for determining the value?                 Does it have to
19      do with the private aspects that you mentioned to me
20      earlier?
21                  MR. DANITZ:      Objection; calls for expert
22      testimony.
23                  THE WITNESS:       As I stated before, expert
24      testimonies and other information, and the courts
25      will make that decision.

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 1                  MR. SOMVICHIAN:        Q.     Mr. Kevranian, you
 2      also, I believe, mentioned an injunction or other
 3      aspects of what you're asking the Court to do in
 4      this case.    Can you explain that to me?               Things
 5      other than compensation.
 6      A.          Well, we want the courts to have Google
 7      stop their practice of selling personal information
 8      of Google account holders and other things.
 9      Q.          What are those other things?
10      A.          They're spelled out on Page 129 and
11      Page 130 of the complaint.
12      Q.          Do you think you're at risk of future
13      injury from Google if you continue using Google
14      services?
15      A.          I can't think of the future.              I don't know
16      what the future entails.
17      Q.          Well, you still use Google services,
18      right?
19      A.          Yes.
20      Q.          You still have your Google account, right?
21      A.          Yes.
22      Q.          You still stay signed into it, right?
23      A.          Yes.
24      Q.          You still stay signed into your account,
25      and you browse the web, right?

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 1      A.          I can't avoid Google because I have all my
 2      e-mail information, all my e-mails, and all my
 3      documents, my photos.        So we're dependent on Google
 4      because of all these years we've had the account.
 5      Q.          You could sign out of your account while
 6      you're browsing the Internet, right?
 7                  MR. DANITZ:      Objection; calls --
 8                  MR. SOMVICHIAN:        Q.     Have you ever thought
 9      to do that?
10                  MR. DANITZ:      Objection; calls for
11      speculation, calls for expert testimony.
12                  THE WITNESS:       Repeat the question, please.
13                  MR. SOMVICHIAN:        Q.     Yeah.     Have you ever
14      considered any option like signing out of your
15      account or clearing cookies or doing anything that
16      might potentially prevent the types of data sharing
17      that you're complaining about?
18                  MR. DANITZ:      Objection; calls for
19      speculation, based on Mr. Kevranian's knowledge as
20      testified to here.
21                  THE WITNESS:       I'm not a technical expert,
22      so I don't know how the signing out/signing in
23      works.
24                  MR. SOMVICHIAN:        Q.     As part of the relief
25      that you're mentioning about ordering Google to stop

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 1      Q.             And you mentioned that that then became a
 2      federal -- there was a federal court version of that
 3      case that got filed?
 4      A.             Yes.
 5      Q.             Do you remember what specific court?
 6      A.             No.
 7      Q.             Was it in Northern California?                Any idea?
 8      A.             I believe it's in the East Coast.
 9      Q.             East Coast.    Do you remember what state?
10      A.             No.
11      Q.             And you believe that that matter's now up
12      on appeal in some manner?
13      A.             It's pending.
14      Q.             You mentioned discovery earlier in this
15      case.       What have you done, Mr. Kevranian, to gather
16      any materials for discovery purposes in this case?
17      A.             I have provided my computer e-mail
18      accounts and all the information necessary from my
19      computer and my cell phone to my attorneys for all
20      the information they need.            Also -- can you repeat
21      the question, please?
22      Q.             Yeah.   What types of materials have you
23      gathered -- or strike that.
24                     What types of information or materials
25      have you gathered in connection with discovery in

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 1      this case, that you can recall?
 2      A.          All my computer information, and also my
 3      cell phone information, and also my attorneys have
 4      hired experts.
 5      Q.          Did you ever look for any terms or
 6      policies or other web pages or disclosures from
 7      Google that you may have reviewed at any point?
 8      A.          Whatever I had I turned over to the
 9      attorneys, whatever information.               I don't remember
10      offhand what I turned.
11      Q.          Did you recall identifying any terms or
12      policies or disclosures that you actually reviewed
13      from Google that you provided as part of the
14      discovery process?
15      A.          I don't remember.
16      Q.          Do you remember undertaking an effort to
17      try to find or identify any terms or policies or
18      disclosures from Google that you had reviewed in
19      connection with any discovery obligation in the
20      case?
21      A.          As far as documents or as far as computer
22      information?
23      Q.          Documents.
24      A.          Documents?     I didn't have any documents in
25      regards to Google information you're requesting.

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 1                  (Whereupon the deposition concluded at
 2                  4:21 p.m.)
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 1                       CERTIFICATE OF REPORTER
 2
 3                  I, Natalie Y. Botelho, a Certified
 4      Shorthand Reporter, hereby certify that the witness
 5      in the foregoing deposition was by me duly sworn to
 6      tell the truth, the whole truth, and nothing but the
 7      truth in the within-entitled.
 8                  The said deposition was taken down in
 9      shorthand by me, a disinterested person, at the time
10      and place therein stated, and that the testimony of
11      said witness was thereafter reduced to typewriting,
12      by computer, under my direction and supervision;
13                  That before completion of the deposition,
14      review of the transcript [ ] was|[X] was not
15      requested.    If requested, any changes made by the
16      deponent (and provided to the reporter) during the
17      period allowed are appended hereto.
18                  I further certify that I am not of counsel
19      or attorney for either or any of the parties to the
20      said deposition, nor in any way interested in the
21      event of this cause, and that I am not related to
        any of the parties thereto.
22      DATED: December 21, 2022
23
24
                <%20029,Signature%>
25              Natalie Y. Botelho, CSR No. 9897

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